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           EXHIBIT 15
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

                    Plaintiffs,

                       vs.                        Case No. 1:25-cv-339-JDB

 U.S. Department of Labor, et al.,

                 Defendants.


       I, Michele Evermore, declare as follows:

       1.      The information set forth in this declaration is based upon my personal

knowledge, and to the best of my recollection.

       2.      I currently work in the private sector and focus on innovation and improvements

to the nation’s unemployment insurance systems.

       3.      From February 2021 to September 2021, I served as a Senior Advisor in the U.S.

Department of Labor’s Employment and Training Administration. In that role, my

responsibilities included being involved in policy decision-making and engaging in meetings

between the Employment and Training Administration and the Office of Inspector General.

From September 2021 to October 2022, I served as the Deputy Director for Policy in the Office

of Unemployment Insurance Modernization, which was responsible for managing programs

administered through the American Rescue Plan Act, including grants that stipulated that states

receiving grants through this funding provide claims data to the Office of Inspector General.

       4.      On August 7, 2020, the Office of Inspector General issued an audit encouraging

ETA to advise state workforce agencies to “provide OIG with recurring access to state workforce

agency data.” On August 11, 2021, the Department of Labor issued UIPL 22-21, which required


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recipients of American Rescue Plan Act grants to “disclose confidential UC information related

to the CARES Act, as amended, to the DOL-OIG for the purpose of UC fraud investigations and

audits for the entire pandemic relief period.” 1 Future Unemployment Insurance Program Letters

expending ARPA funds carried language requiring states to provide confidential UC data to the

DOL’s Inspector General.

       5.      A database was created to help states facilitate identification of potentially

fraudulent claims for unemployment benefits, by using DOL’s Office of Inspector General as a

centralized clearinghouse to review and cross-reference unemployment claims data across all

participating states to identify unemployment claims made by individuals using the same Social

Security Number to file claims across multiple states or claims made by individuals whose SSNs

are flagged as potentially fraudulent.

       6.      The database contains a great deal of sensitive information about the individuals

whose data are captured in the system, including their names, social security numbers, birth

dates, claims records, and potentially other personally identifying data.

       7.      To the best of my knowledge, this data set, as it exists today, would include the

records described in the previous paragraph for every single individual who received

unemployment benefits between March 2020 and the end of this year, from every state (and the

District of Columbia).

       8.      I am over eighteen years old, of sound mind, and submit this declaration of my

own account, not subject to any duress, fraud, or undue influence. Pursuant to 28 U.S.C. § 1746,



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  Advisory Letter from Suzan G. Levine, Acting Assistant Secretary of Labor to State Workforce
Agencies re: Grant Opportunity to Support States with Fraud Detection and Prevention,
Including Identity Verification and Overpayment Recovery Activities, in All Unemployment
Compensation (UC) Programs, Unemployment Ins. Program Ltr. No. 22-21 1, 2 (Aug. 11, 2021),
https://perma.cc/G4BK-N4L2.
                                                 2
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